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                         IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
                                   CAMDEN DIVISION


  IN RE: Valsartan N-Nitrosodimethylamine          MDL No. 2875
  (NDMA), and Irbesartan Products Liability        Civil No.: 19-02875 (RBK/JS)
  Litigation


  This Document Relates to All Actions


                     NOTICE OF APPEARANCE OF JUSTIN M. L. STERN

 To the Clerk:

           Please enter the appearance of Justin M. L. Stern on behalf of Defendants Prinston

 Pharmaceutical Inc., Zhejiang Huahai Pharmaceutical Co., Ltd., Solco Healthcare U.S., LLC, and

 Huahai U.S., Inc., on this Court’s MDL master docket.

           By entering an appearance, the undersigned Defendants do not waive any

 defenses, including but not limited to defenses related to service of process and personal

 jurisdiction in any individual case that is currently pending in MDL 2875 or that subsequently

 may be transferred to or consolidated with MDL 2875.



 Dated: December 17, 2020

                                                   s/ Justin M. L. Stern
                                                   Justin M. L. Stern (Fla. Bar No. 1010139)
                                                   DUANE MORRIS LLP
                                                   1875 NW Corporate Boulevard, Suite 300
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                                        Attorney for Defendants Prinston
                                        Pharmaceutical Inc., Zhejiang Huahai
                                        Pharmaceutical Co., Ltd., Solco
                                        Healthcare U.S., LLC, and Huahai U.S., Inc.




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                                    CERTIFICATE OF SERVICE

           I hereby certify that on December 17, 2020, I electronically filed the foregoing Notice of

 Appearance of Justin M. L. Stern with the Clerk of Court by using the CM/ECF system, which

 will send a notice of electronic filing to all CM/ECF participants.



                                                        s/ Justin M. L. Stern
                                                        Justin M. L. Stern




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